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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR360
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
THOMAS MENDICINO,                                 )
                                                  )
                     Defendant.                   )
       This matter is before the court on the motion to continue by defendant Thomas
Mendicino (Mendicino) (Filing No. 38). Mendicino seeks a continuance of at least thirty (30)
days of the trial of this matter which is scheduled for February 2, 2009. Mendicino’s
counsel represents Mendicino consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act.
Mendicino’s counsel represents that government’s counsel has no objection to the motion.
Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Mendicino’s motion to continue trial (Filing No. 38) is granted.
       2.     Trial of this matter is re-scheduled for March 9, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
January 28, 2009 and March 9, 2009, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 28th day of January, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
